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                              EXHIBIT 2
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                            NOTICE OF CLASS ACTION SETTLEMENT
          Notice to Flores v. Garland Class Members for Motion for Attorneys’ Fees

 This notice is directed to all minors in U.S. Customs and Border Protection (“CBP”) custody in
 U.S. Border Patrol facilities in the Rio Grande Valley and El Paso sectors. If this notice has
 been posted in the facility where you are currently located, then this notice applies to all minors
 held in this facility.

 This notice is to inform you of a settlement regarding a motion for attorneys’ fees in a class
 action lawsuit called Flores v. Garland, No. CV 85-04544 DMG ARG (C.D. Cal.). The Flores
 lawsuit resulted in a Settlement Agreement that sets minimum national standards for the
 detention, release, treatment and housing of children in immigration custody.

 In June 2019, Plaintiffs in the Flores case filed a lawsuit challenging the conditions of detention
 for minors in custody in U.S. Border Patrol facilities in the Rio Grande Valley and El Paso
 sectors. Lawyers for the Plaintiffs and the Government met several times to discuss a settlement
 (an agreement) to resolve Plaintiffs’ claims. On July 29, 2022, the Court granted final approval
 of this agreement. The agreement has many parts, and in summary requires the U.S. Border
 Patrol in the Rio Grande Valley and El Paso sectors to provide all detained minors with access
 to toilets, sinks, showers, hygiene products, a change of clothing as needed, drinking water, age
 appropriate meals and snacks, sufficient space to sleep as well as mats and blankets, baby
 supplies including diapers and wipes, medical evaluation and treatment as needed, adequate
 temperature control and ventilation, caregivers to provide supervision, and unless there is a
 reason not to do so, the Government will allow adult family members (including non-parents
 or legal guardians) to remain with minors with whom they are held, and if held separately, to
 have contact with those minors during their time in U.S. Border Patrol custody.
 The Government and Plaintiffs have agreed that the Government will pay class members’
 attorneys’ fees in the amount of $673,810.00 to compensate them for their work. If you wish,
 you may object to the settlement by submitting your objection in writing, via regular mail, to
 the class members’ lawyers, who will then share the objections with the Court. If you wish to
 object, please advise a Border Patrol agent that you wish to object and you will be provided
 with paper, a pen or pencil, and an envelope and a stamp. Please sign your letter and write
 down the date. If you are an accompanying adult, give the full name of the minor you are
 accompanying. You may give the letter to a Border Patrol agent to be mailed for you. Please
 address the envelope to:
 Peter Schey
 Center for Human Rights and Constitutional Law
 256 S. Occidental Blvd.
 Los Angeles, CA 90057

 To be timely, your objection must be received no later than ________________.
 If you do not make your objection by that date, you will lose your right to object.

 You are not required to send a letter if you have no objection to the settlement.
